Case 2:17-cv-06374-MWF-FFM Document 87-6 Filed 04/17/18 Page1of6 Page ID #:1059
fEDB_OF
THE STATE BAR OF CALIFORNIA

REQUEST FOR RECORDS
Under California Public Records Act

   

 

 

Date 03/28/2018

Requester Information

First Name Lisbeth a Last Name Merrill

 

Organization Wilson Keadjian Browndorf LLP

Address 1900 Main Street, Ste. 200

City Irvine State California Zip Code 92614

 

Email Imerrill@wkbllp.com Phone (949) 247-7828 Fax (949) 234-6254

 

 

Description of Information Requested
Please be as specific as possible. Attach additional sheets of paper as necessary. If a requestor needs

assistance in formulating a request, please call (415) 538-2283 or email PRA@calbar.ca.gov.
Alice C. Longoria, #155696 recently updated her address with the State Bar of California. Her previous address was
7223 Wilshire Bivd. #1015, Los Angeles, CA. She also has previous used the name Alice Crossland. | would like to

obtain information evidencing her use of her previous name and address with the State Bar of California and the dates of
suCcH Use, preferably certified. The sooner Tcan nave this information, the better.

 

 

 

 

 

 

 

When making your request, please be aware that several categories of State Bar records are exempt from
disclosure under Senate Bill 387, including the following:

- Discipline Investigation & Office of Chief Trial Counsel Records (Bus. & Prof. Code § 6086.1(b); Gov. Code
§ 6254(f).)

- Admissions Records

- Test Administration Records (Gov. Code § 6254(g).)
- Moral Character Records (Gov. Code § 6254(f); Bus. & Prof. Code § 6060.2.)
- Applicant Information (Bus. & Prof. Code § 6060.25.)

- Law Corporation Investigation Records (Bus. & Prof. Code § 6168.)
- Lawyer Assistance Program Records (Bus. & Prof. Code §§ 6232(d); 6234(a).)
- Fee Arbitration Settlement Records (Bus. & Prof. Code § 6200(h).)

SUBMIT THIS FORM

1) By E-mail: PRA@calbar.ca.gov 2) By Mail:
California Public Records Act
Requests State Bar of California
180 Howard Street
San Francisco, California 94105

CPRA Form 11/2015
Case 2:17-cv-06374-MWF-FFM Document 87-6 Filed 04/17/18 Page 2of6 Page ID #:1060

4/7/2018 RE: Request for Information for Alice Longoria - Lisbeth Merrill

RE: Request for Information for Alice Longoria

Turner, Louise <Louise.Turner@calbar.ca.gov>

Wed 4/4/26 2:33 PM

 

toLisbeth Merrill <Imerrili@bplawgroup.com>; Lisbeth Merrill <imerrili@wkbllp.com>:

Capra <pra@calbar.ca.gov>;

@ 1 attachment

Longoria, A. #155696 Name & Address Change Histories 040218.pdf:

VIA EMAIL AND U.S, MAIL

Lisbeth Merrill

Wilson Keadjian Browndorf LLP
1900 Main St., Ste 600

Irvine, CA 92614

Dear Ms. Merrill,

We have received your California Public Records Act request dated March 28, 2018. You requested the following:

‘Alice C. Longoria, #155696 recently updated her address with the State Bar of California. Her previous address was 1223 Wilshire Blvd. #1015, Los Angeles, CA. She
also has previous used the name Alice Crossland. { would like to obtain information evidencing her use of her previous name and address with the State Bar of

California and the dates of such use, preferably certified.”

in response to your request, enclosed please find a name change history printout, and an address change history printout since February 3, 2003, for Alice C.
Longoria, #155696, on the records of the State Bar of California. We have no records that indicate her use of the name Alice Crossland at any time.

We can provide certified copies of these two records for a cost of $10.00 each. Please make your check or money order for $20.00 payable to The State Bar of
California, and send it to my attention at the San Francisco address below to ensure it is properly processed.

The State Bar reserves the right to determine whether the requested records are exempt from disclosure pursuant to the California Public Records Act should
documents later materialize,

 

 

https://mail.plute .com/owa/#viewmodel=F Mi Item&lt ID=AAMKAGM2NTc4NDcOLTAOYmYtNDVENS 1iNzczlTA3MzkzOWVIMWRINgBGAAAAAAADZWsRg6nXQrG 1i6hK6Y GIBWCUGrWjGGgXR7teet
Case 2:17-cv-06374-MWF-FFM Document 87-6 Filed 04/17/18 Page 3of6 Page ID #:1061

4/7/2018 RE: Request for Information for Alice Longoria - Lisbeth Merrill

Sincerely,

Louise Turner

Attorney Regulation & Consumer Resources

The State Bar of California | 180 Howard St. | San Francisco, CA 94105
Ph: 415.538.2246 | Fax: 415.538.2576 | louise.turner@calbar.ca.gov

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or disclose the message in whole or in part. ff you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

Working to protect the public in support of the mission of the State Bar of California.
Please consider the environment before printing this email.

 

From: Lisbeth Merrill [mailto:|merrill@bplawgroup.com}
Sent: Wednesday, March 28, 2018 12:38 PM

To: pra

Subject: Request for information for Alice Longoria

Please see attached request.
Thank you and Best Regards,
Lisbeth Bosshart Merrill, Esq.

Wilson Keadjian Browndorf LLP

WILSON
KEADIJIAN
Wik BROWNDORF

4 Limited Liability Partmership

1900 Main Street | Suite 600
Irvine, CA 92614

D: 949.247.7828

F: 949.234.6254
lmerrill@wkbllp.com
www.wkblip.com

 

https://mail.plutossama.com/owa/#viewmodel=ReadMessageltem&ltemID=AAMkAGM2NTc4NDcOLTAOY mYtNDVKNS 1iNzczL TASMzkzOWVIMWRINgBGAAAAAAADZWsRg6nXQrG 1i6hK6Y GIBWCuQrWjGGgXR7teet
Case 2:17-cv-06374-MWF-FFM Document 87-6 Filed 04/17/18 Page 4of6 Page ID #:1062

4/7/2018 RE: Request for Information for Alice Longoria - Lisbeth Merrill

https://mail.plutossama.com/owa/#viewmodel=ReadMessageltem&ltemID=AAMkAGM2NTC4NDcOLTAOYmYtNDVkNS1 iNZcZLTA3MzkzOWVIMWRINgBGAAAAAAADZWsRg6nXQrG1i6h K6YGIBWCuQrWjGGgXR7teet
Case 2:17-cv-06374-MWF-FFM Document 87-6 Filed 04/17/18 Page5of6 Page ID #:1063
MM200RD MEMBER NAME CHANGE HISTORY 4/02/18

 

18°51233
Member#: 155696
Name-Last: Longoria Sf: Fn/Mn: Alice C
2nd Middle:
__SSSSSeSes Previous Names -c-c3ctt ro . Date Date Date Changed E
Last Sufx First Effectve Received Entered. By
Longoria Alice 12/16/91 12/16/91 12/27/91 BLACKFOC —

Middle: C
Case 2:17-cv-06374-MWF-FFM Document 87-6 Filed 04/17/18 Page 6of6 Page ID #:1064

MM595R2 MEMBER ADDRESS CHANGE HISTORY

Date of Admission:
Name:

Address:

Member #: 155696
12/16/1991 Status: Active

Alice C. Longoria

Longoria & Associates [Mailing Addres#ff:

2443 Fillmore St
# 380-5713

San Francisco CA 94115 1814

Longoria & Associates
2443 Fillmore St
# 380-5713

San Francisco CA 94115 1814

Longoria & Associates

1223 Wilshire Blvd # 1012
Santa Monica CA 90403 5406
Longoria & Associates

1223 Wilshire Blvd #1012
Santa Monica CA 90463

Longoria & Associates
1223 Wilshire Blvd # 1012
Santa Monica CA 90403

Longoria & Associates

410 Wilshire Bivd # 330
Santa Monica CA 90401

11301 Olympic Blvd #416
Los Angeles CA 90064

Print Date:

Effective:

Eff:

EfE:

ELE:

BLE:

BLe:

BEF:

4/02/18

10/02/2002

1/30/2018

1/30/2018

2/10/2017

1/30/2012

4/03/2008

4/20/2006

2/03/2003
